   Case 2:10-md-02179-CJB-DPC Document 6256-3 Filed 04/17/12 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater                  MDL No. 2179
Horizon” in the Gulf of Mexico, on
April 20, 2010                                              Section: J

THIS DOCUMENT RELATES:

All Cases and 2:10-CV-2771                                  JUDGE BARBIER
                                                            MAG. JUDGE SHUSHAN
_____________________________________/


            MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE
                         SHORT FORM JOINDERS

       Now comes various Claimants, specifically set forth on Exhibit “A”, who file this

Memorandum in Support of the accompanying Motion for Leave to File Short Form Joinders.

These Claimants seek this Honorable Court’s permission to accept Claimants’ late filed claims in

the limitation proceeding for the following reasons:

       1.      All Claimants contacted counsel after the Court-established deadline of

September 16, 2011, seeking assistance for injuries and damages incurred as a result of the

Deepwater Horizon explosion and resulting oil spill.

       2.      Because Claimants had not yet fully realized their damages, they did not timely

file in the Transocean limitation proceeding.

       3.      No prejudice will result from the acceptance of the late filings. No action has

been taken in the limitation proceeding which could cause prejudice to any other party to the

proceeding.

       4.      Supplemental Admiralty Rule 14(f) gives the Court discretion to permit the late

filing of claims in a limitation proceeding. Where no prejudice could be suffered by plaintiffs in

the limitation proceeding, the acceptance of late filed claims should be allowed where equitable

                                                                                               -1-
   Case 2:10-md-02179-CJB-DPC Document 6256-3 Filed 04/17/12 Page 2 of 3




reasons are shown. Texas Gulf Sulfur Co. v. Blue Stack Towing Co., 313 F.3d 359, 362 (5th Cir.

1963) (“[S]o long as rights of the parties are not adversely affected, the Court will freely grant

permission to file late claims.”); In re Gladiator Marine, Inc., No. 98-2037, 1999 WL 378121

(E.D. La. June 7, 1999) (citing Golnoy Barge Co. v. M/T Shinoussa, 980 F.2d 349, 351 (5th Cir.

1993)). Here, there are no indications that any limitation plaintiff would be adversely affected or

suffer any prejudice if these late filed claims are deemed timely.

       5.      Limitation has not been determined; and there is no prejudice to the limiting

parties or other defendants.

       For these reasons, Claimants respectfully request that the Court accept their late filed

short forms and grant the accompanying Motion for Acceptance of Short Form Joinders Beyond

the September 16, 2011 Deadline.


                                                     Respectfully submitted:



                                                       /s/ F. Gerald Maples_______________
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                                 CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on April 16th, 2012, I electronically filed the foregoing

document with the Clerk of the Court for the United States District Court of the Eastern District

                                                                                                -2-
   Case 2:10-md-02179-CJB-DPC Document 6256-3 Filed 04/17/12 Page 3 of 3




of Louisiana via the CM/ECF System, and provided notice by and through LexisNexis File &

Serve to all counsel of record.



                                          /s/ F. Gerald Maples_____________________
                                        F. Gerald Maples




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